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               Exhibit E
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                  (AU)
(73) Assignee: CAP-XX LIMITED, Dee Why, New                               (57)                       ABSTRACT
               South Wales (AU)
(21) Appl. No.:            14/115,982                                     An electrolyte system suitable for use in an energy storage
                                                                          device (such as a Supercapacitor), and energy devices which
(22) PCT Filed:           May 7, 2012                                     comprising the electrolyte system which is made up of an
                                                                          ionic liquid, such as Lior EMI TFSI and a stabilising amount
(86). PCT No.:             PCT/AU2012/OOO48O                              of a stabilising additive. The stabilising additive preferably
      S371 (c)(1),                                                        contains nitrile and or aromatic (benzene) groups, and may be
      (2), (4) Date:       Nov. 6, 2013                                   advantageously benzonitrile, cinnamonitrile or Succinoni
                                                                          trile. The stabilising additive stabilises the energy storage
(30)           Foreign Application Priority Data                          device against ESR rise and/or capacitance loss but does not
                                                                          adversely affect other performance characteristics of the ionic
  May 10, 2011         (AU) ................................ 2O11901763   liquid.
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                        ELECTROLYTE                                   0014 Currently, the relatively high power density of
                                                                     Supercapacitors make them ideal for series or parallel com
                      TECHNICAL FIELD                                bination with batteries that have high energy density to form
 0001. The invention relates to electrolytes for use in              a hybrid energy storage system. When a load requires energy
energy storage devices. In particular, the invention relates to      that is not constant, complementing the battery with a Super
non-aqueous electrolytes capable of providing improved per           capacitor allows the peaks to be drawn from the charged-up
formance in batteries, capacitors, Supercapacitors and the           Supercapacitor. This reduces the load on the battery and in
like.                                                                many cases extends the lifecycle of a battery as well as the
 0002 The invention has been developed primarily for                 lifetime of rechargeable batteries.
supercapacitors and will be described hereinafter with refer          0015 Supercapacitors also have application in the field of
ence to that application. It will be appreciated, however, that      Hybrid Electric Vehicles (HEV). Supercapacitors can be used
the invention is not limited to that particular field ofuse and is   as an integral component of the drivetrains of these vehicles
also Suitable for other energy storage devices such as batter        and are used as the primary power source during acceleration
ies, fuel cells, pseudocapacitors and capacitors and hybrids of      and for storage of energy reclaimed during regenerative brak
one or more of these devices.                                        ing.
                                                                      0016 Supercapacitors store energy by means of separa
               BACKGROUND OF THE INVENTION                           tion of charge rather than by the electro-chemical process
                                                                     inherent in a battery. They generally include two opposed
 0003) Any discussion of the prior art throughout the speci          electrodes electrically isolated by an intermediate electroni
fication should in no way be considered as an admission that         cally insulating separator which is porous and permeated by
Such prior art is widely known or forms part of common               an electrolyte. Two current collecting terminals generally
general knowledge in the field.                                      connect to and extend from respective electrodes for allowing
 0004 Supercapacitors are also referred to as ultra capaci           external access to the electrodes. The housing is sealed to
tors, electrochemical double layer capacitors (EDLC) and             preventingress of contaminants and egress of electrolyte.
electrochemical capacitors, amongst others, all of which are         Multiple electrode capacitors have also been constructed, for
included within the term "supercapacitor as used within this         example, lithium ion capacitors are a hybrid device possess
specification.                                                       ing a third electrode.
 0005 Supercapacitors generally enable fast (high power)              0017 Capacitance, the ability to store an electrical charge,
delivery of energy with the amount of energy delivered being         arises when two parallel plates are connected to an external
very high compared to ordinary capacitors, but low compared          circuit and a voltage difference is imposed between the two
to batteries. Low resistance, high energy density, Superca           plates. In Such a case, the Surfaces become oppositely
pacitors are ideally Suited for high power applications such         charged. The fundamental relationship for this separation of
aS
                                                                     charges is described by the following equation
     0006 Wireless communications with limited power
      Supplies such as:
     0007 Mobile/cellular telephones: PC card; CF card;
      mini PCI; express card; USB modems; PDA's; auto
      matic meter reading; toll tags; GPS, GPRS and RF track
        1ng.
     0008 Energy back-up (UPS) in portable, or space con              0018 where C denotes capacitance with a unit of farads
        strained devices.                                            (F), c is the permittivity with a unit of farads per metre (m), A
     0009 Voltage regulation for CPUs; automotive                    is the area of overlap of the charged plates and L is the
      vehicles; portable audio and other devices with high           separation distance. The permittivity of the region between
      Surge loads.                                                   the plates is related to the dielectric constant of the material
     0010 High energy, high power electrical loads, such as:         that can be used to separate the charged Surfaces.
        Actuators for door locks; DSC’s and LED flash for cam         0019. The problem with existing commercial capacitors
        CaS.                                                         using conventional materials is that their performance is lim
    0011 Solid state memory storage devices (egg. solid              ited by their dimensions. For example, a capacitor based
     state hard drives).                                             around a metallised coating of a polyethylene sheet that is 50
 0012 Supercapacitors can play a role in hundreds of appli           um thick will develop only 0.425uF for one square metre of
cations. The energy and power storage markets, where Super           capacitor. Thus, over 2.3 million square metres will be
capacitors reside, are currently dominated by batteries and          required to develop 1 F.
capacitors. It is well recognised that batteries are good at          0020. The supercapacitors developed by the present
storing energy but compromise design to enable high power            Applicant are disclosed in detail in the Applicant’s co-pend
delivery of energy. It is also well recognised that capacitors       ing applications, for example, PCT/AU98/00406 (WO
enable fast (high power) delivery of energy, but that the            98/054739), PCT/AU99/00278 (WO 99/053510), PCT/
amount of energy delivered is very low (low capacitance).            AU99/00780 (WO 00/016352), PCT/AU99/01081 (WO
 0013. Overlaying these limitations of existing batteries            00/034964), PCT/AU00/00836 (WO 01/004920), PCT/
and capacitors against market demand reveals the three main          AU01/00553 (WO 01/089058), the contents of which are
areas of opportunity for Supercapacitors: battery replacement        incorporated herein by reference.
devices, which have high energy density; battery complement           0021. These supercapacitors developed by the Applicant
devices, which have high power and energy densities; and             overcome the dimensionality problem described above by
capacitor replacement devices which are Smaller and not only         using as a coating material an extremely high Surface area
have high power density but have high frequency response.            carbon.
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These Supercapacitors include two opposed electrodes main           0028 where E is the energy in joules and V is the rated or
tained in a predetermined spaced apart electrically isolated       operating Voltage of the Supercapacitor.
configuration by an intermediate electronically insulating          0029 Apart from the voltage limitation, it is the size of the
separator. The electrodes consist of metal current collectors      Supercapacitor that controls the amount of stored energy, and
and a coating material typically formed from particulate car       the distinguishing feature of Supercapacitors is their particu
bon and a binder used for adhering the carbon to itself and to     larly high values of capacitance. Another measure of Super
the associated current collector.                                  capacitor performance is the ability to store and release the
 0022. The coated electrodes and intermediate separator            energy rapidly; this is the power, P. of a Supercapacitor and
can be either stacked or wound together and disposed within        can be given by:
a housing that contains an electrolyte. Two current collecting
terminals are then connected to and extend from respective
electrodes for allowing external access to those electrodes.                   V2
The housing is sealed to prevent the ingress of contaminants              P=
and the egress of the electrolyte. This allows advantage to be
taken of the electrical double layer that forms at the interface
between the electrodes and the electrolyte. That is, there are      0030 where R is the internal resistance of the supercapaci
two interfaces, those being formed between the respective          tor. For capacitors, it is more common to refer to the internal
electrodes and the electrolyte. This type of energy storage        resistance as the equivalent series resistance or ESR. As can
device is known as a Supercapacitor. Alternatively, these have     be deduced from the foregoing equations, the power perfor
been known as ultracapacitors, electrical double layer capaci      mance is strongly influenced by the ESR of the entire device,
tors and electrochemical capacitors.                               and this is the sum of the resistance of all the materials, for
 0023 The electrolyte contains ions that are able to freely        instance, Substrate, carbon, binder, separator, electrolyte and
                                                                   the contact resistances as well as between the external con
move throughout a matrix, Such as a liquid or a polymer, and       tacts. Lower ESR for a device gives better device perfor
respond to the charge developed on the electrode surface. The        aCC.
double layer capacitance results from the combination of the
capacitance due to the compact layer (the layer of Solvated         0031. In many cases, the physical and electrochemical
ions densely packed at the surface of the electrode) and the       properties of electrolytes are a key factor in determining the
capacitance due to the diffuse layer (the less densely packed      internal resistance (ESR) of the supercapacitor and the
ions further from the electrode).                                  “power spectrum’ of the supercapacitor, i.e. the ability of the
 0024. In Supercapacitors, the charge separation in the            Supercapacitor to provide power over various time domains or
compact layer is generally very thin, less than a nanometre,       in various frequency ranges. By correct selection of the Super
and of very high Surface area. This is where the technological     capacitor components in combination, it is possible to reduce
                                                                   ESR.
advantage for Supercapacitors over conventional capacitors
lies, as charge storage in the compact layer gives rise to high     0032. One means of reducing the ESR of a supercapacitor
specific capacitances. This is an increase by several hundred      is to use more conductive electrolytes. The combination of
thousand-fold over conventional film capacitors. As well, the      more conductive active materials with thinner design allows
applied potential controlled, reversible nano scale ion adsorp     higher powers to be achieved while maintaining or reducing
tion/desorption processes result in a rapid charging/discharg      the mass and/or Volume.
ing capability for Supercapacitors.                                 0033. The product of resistance and capacitance (RC),
 0025. The electrode material may be constructed as a bed          commonly referred to as the time constant, is frequently used
of highly porous carbon particles with a very high Surface         to characterise capacitors. In an ideal capacitor, the time
area. For example, Surface areas may range from 100 m per          constant is frequency independent. However, in carbon based
gram up to greater than 2500 m per gram in certain preferred       Supercapacitors, both Rand C are frequency dependent. This
embodiments. The carbon matrix is held together by a bind          arises from the microporous characteristics of high Surface
ing material that not only holds the carbon together (cohe         area carbons, and the nature of charge build up at the electric
sion) but it also has an important role in holding the carbon      double layer on the carbon surface. The traditional method of
layer onto the Surface of the current collecting Substrate (ad     measuring R and C for Supercapacitors is to use a constant
hesion).                                                           current charge or discharge and to measure the Voltage jump
 0026. The current collecting substrate is generally a metal       at the start or finish of the cycle, and the rate of change of
foil. The space between the carbon Surfaces contains an elec       voltage during the cycle respectively. This however effec
trolyte (frequently solvent with dissolved salt). The electro      tively provides the R at high frequency and the C at low
lyte is a source of ions which is required to form the double      frequency. Another more Suitable method is to measure the
layer on the Surface of the carbon as well as allowing ionic       frequency response of the complex impedance and to model
conductance between opposing electrodes. A porous separa           a simple RC element to the data. This provides an estimate of
toris employed to physically isolate the carbon electrodes and     R and C across the frequency range that may or may not
prevent electrical shorting of the electrodes.                     correlate with those measured using constant current tech
 0027. The energy storage capacity for a Supercapacitor            niques.
can be described by the equation:                                   0034 Clearly, the use of RC time constant as a measure of
                                                                   capacitor Suitability is Subject to a large uncertainty. A more
                                                                   useful technique has recently been proposed in which R and
                                                                   Care measured at the frequency at which the phase angle of
                                                                   current and voltage is -45°. The reciprocal of this frequency
                                                                   is the “response time' and is more clearly defined than other
                                                                   methods. Further, the capacitance at this frequency can then
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be used to calculate the energy and provide a Figure of Merit       and oxygen on charge and as Such has a relatively small
(FOM) when normalised with the mass or volume of the                electrochemical window of operation outside of which the
Supercapacitor.                                                     applied Voltage will degrade the solvent. In order to maintain
 0035. It will be appreciated that a gravimetric FOM is             electrochemical stability in applications requiring a Voltage
more appropriate for use with energy storage devices                in excess of 1.0 V, it is necessary to employ Supercapacitor
intended for pulse power applications. That is, such applica        cells in series, which leads to an increase in size, a reduction
tions are by necessity frequency dependent and, as such, the        in capacitance and an increase in ESR in relation to a non
calculation of the figure of merit involves first identifying the   aqueous device which is capable of producing an equivalent
frequency f. at which the impedance of the storage device           voltage. Stability is important when one considers that the
reaches a -45° phase angle. A reciprocal off then provides a        Supercapacitors may remain charged for long periods and
characteristic response time T for the storage device. The          must charge and discharge many hundreds of thousands of
value of the imaginary part of the impedance Z" at f is used        times during the operational lifetime of the Supercapacitor.
to calculate the energy E that the device is able to provide at      0043. Secondly, it must be borne in mind when selecting
that frequency. More particularly, using:                           the electrolyte system that Supercapacitors do not operate in
                                                                    isolation. Rather, in use, they are in confined environments in
                                                                    the presence of components which generate high tempera
 0036 where C=-1/(2tfZ") and V is the rated voltage of              tures. Supercapacitors must also be capable of operation at
the device, the gravimetric figure of merit is calculated by        low temperatures.
dividing E by the mass (m) of the device and by T. That is,          0044) Thirdly, as supercapacitors evolve and are being
gravimetric FOM-E/(m-T).                                            pushed to higher levels of performance, that is as Superca
 0037. The gravimetric figure of merit has been suggested           pacitors are pushed towards higher operating Voltages and
by John R. Miller in a paper entitled “Pulse Power Perfor           temperatures, the measurement criteria for their performance
mance of Electrochemical Capacitors: Technical Status of            becomes more stringent. One measurement of ongoing Super
Present Commercial Devices' for the "8th International              capacitor performance is the ESR rise rate this is the
Seminar on Double Layer Capacitors and Similar Energy               upward drift in ESR over time towards unacceptably high
Storage Devices', Deerfield Beach, Fla., Dec. 7-9, 1998. The        levels. ESR rise rate is a function of the overall stability of the
teachings of and disclosure within that paper are incorporated      system relative to time, temperature and Voltage and the num
herein by way of cross-reference.                                   ber of times a device cycles. Typical electrolytes in many
 0038 Also detailed in the Miller paper is the calculation of       cases exhibit unacceptably high ESR rise rates.
a volumetric figure of merit (volumetric FOM) which is based         0045. Accordingly, as the field of supercapacitors evolves,
upon E. divided by both T. and the volume of the device. The        there is a continuing need for new solvents and electrolyte
volumetric FOM is expressed in terms of Watts/cm.                   systems that exhibit better stability and operational charac
 0039. These figures of merit provide a different characteri        teristics.
sation of storage devices which is more in keeping with the          0046. It is an object of the present invention to provide a
frequency dependent nature of pulse power and other Such            non-aqueous electrolyte Suitable for use in the energy storage
applications to which the devices are being applied. It should      device which overcomes one or more of the above mentioned
also be noted that the performance of the devices cannot be         disadvantages, or at least provides a commercially viable
adequately explained by the hitherto utilised simple RC             alternative.
model. Such simple models do not account for the frequency           0047 Unless the context clearly requires otherwise,
dependent nature of either pulsed or high power applications,       throughout the description and the claims, the words "com
whereas the FOMused to characterise the present invention is        prise', 'comprising, and the like are to be construed in an
a parameter directly relevant to Such applications.                 inclusive sense as opposed to an exclusive or exhaustive
 0040 Another figure useful in assessing the performance            sense; that is to say, in the sense of “including, but not limited
                                                                    to.
of a supercapacitor is Effective Capacitance (Ce). Effective
Capacitance (Ce) is the capacitance obtained during a con            0048 Although the invention will be described with ref
stant current discharge at a specified time and is derived from     erence to specific examples it will be appreciated by those
an RC electrical model of the supercapacitor's measured             skilled in the art that the invention may be embodied in many
                                                                    other forms.
discharge, where R (or ESR) is measured at a predetermined
time, say 20 LS (microseconds) and held constant in the                            SUMMARY OF THE INVENTION
model. The discharge current used here is typically 100 mA.
Ce is thus time dependant. The weight used here to calculate         0049. In a first aspect, the invention provides an electrolyte
the specific gravimetric Effective Capacitance in a Superca         system Suitable for use in an energy storage device, the elec
pacitor is generally the total mass of the device. For dissimi      trolyte system comprising an ionic liquid and a stabilising
larly packaged or structured devices, a comparison of Ce may        amount of a stabilising additive.
be made by comparing the mass of the active coatings, or             0050 Ionic liquids (ILs) are low melting temperature salts
active materials within coatings, for the devices.                  that form liquids comprised of cations and anions. According
 0041 As well as meeting the above electrochemical crite            to current convention, a salt melting below the boiling point of
ria, there are other practical requirements necessary for a         water is known as an ionic liquid or by one of many synonyms
good electrolyte system.                                            including low/ambient/room temperature molten salt, ionic
 0042 Firstly, there is the necessity for the electrolyte to be     fluid, liquid organic salt, fused salt, and neoteric solvent.
chemically stable. Aqueous based electrolytes, such as Sulfu         0051 Anions that form room temperature ionic liquids are
ric acid and potassium hydroxide solutions, are often used as       usually weakly basic inorganic or organic compounds that
they enable production of an electrolyte with high conductiv        have a diffuse or protected negative charge. Cations that pro
ity. However, water is susceptible to electrolysis to hydrogen      duce low melting point ionic liquids on the other hand are
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generally organic species with low symmetry and include for        HexMePyN(CN):                  MeBuNCFSONCOCF:
example imidazolium, pyrazolium, triazolium, thiazolium,           Mes Etairs SO-NCOCFs):               PrMeNIN(CFSO);
and oxazolium cations.                                             EtNIN(CFSO); MePrPpIN(CFSO); BuPil
 0052 Ionic liquids have the advantage over conventional           BFI; or BuPiN(CFSO).
electrolytes in that they are generally non-volatile, non-flam     0061 The ionic liquid may be a TFSI salt, for example, a
mable, and exhibit relatively high ionic conductivity.            Lior EMI TFSI salt. Preferably the ionic liquid is EMITFSI
 0053. The highest acceptable melting temperature for an          (1-ethyl-3-methylimidazolium bis(trifluoromethane-sulfo
IL suitable for use in a supercapacitor is about -10°C. Below     nyl)imide).
this melting point the IL should preferably behave as a good       0062. The stabilising additive preferably functions at least
glass former. That is, below its melting points, the Super        as a water Scavenger.
cooled ionic liquid should retain liquid character, or the         0063. The stabilising additive is preferably contains nitrile
essential characteristics of a liquid, until the glass tempera    groups. The stabilising additive preferably contains an aro
ture is reached.                                                  matic ring, more preferably a benzene ring. One preferred
 0054 Due to cold start-up temperatures, which may be             class of Stabilising additive is that containing both an aro
experienced by a Superconductor in an electrical device, Suit     matic ring and a nitrile group.
able ILS should preferably possess liquid characteristics          0064. In one particular embodiment the stabilising addi
below about -10°C., more preferably below about -20°C.,           tive is contains a benzene ring and one or more nitrile groups.
even more preferably below about -30° C. and most prefer
ably below about -40°C.                                            0065. In one particular embodiment the stabilising addi
 0055 As supercapacitors are typically used in confined           tive is selected from the group consisting of benzonitrile,
environments in the presence of components which generate         cinnamonitrile and Succinonitrile. In another particular
high temperatures, ILS should also be stable at normal oper       embodiment the stabilising additive is selected from the
ating temperature of about 85°C., more preferably about           group consisting of benzonitrile and cinnamonitrile. In
100° C., and even more preferably about 130° C.                   another particular embodiment the stabilising additive is
 0056. The energy storage device may be exposed to exter          selected from the group consisting of benzonitrile and Succi
nal temperatures as high as 260° C. during assembly into the      nonitrile. In another particular embodiment the stabilising
device of final application. These processes are often referred   additive is selected from the group consisting of cinnamoni
to as surface mount or reflow. It is desirable that the electro   trile and Succinonitrile.
lyte within the energy storage device be able to withstand         0066. The most preferred stabilising additive is benzoni
Such assembly processes.                                          trile.
 0057 The energy storage device may be a battery, capaci           0067. The stabilising additive may be present in an amount
tor, or more preferably, a Supercapacitor.                        of up to 50% wit/wt, alternatively up to 30% wit/wt, alterna
 0058. The term “stabilising additive' as used herein refers      tively up to 25% wit/wt, alternatively up to 20% wit/wt, alter
to the ability of the additive to stabilise one or more perfor    natively up to 55% wit/wt, alternatively up to 10% wit/wt,
mance properties of the capacitor over time. The stabilising      alternatively up to 5% wit/wt, alternatively up to 1% wt/wt, or
additive preferably stabilises the ESR of the energy storage      alternatively up to 0.25% wit/wt. There are instances where
device. The stabilising additive may alternatively, or in addi    commercial imperatives will make greater than 50% wit/wt
tion, reduce capacitance loss of the energy storage device.       desirable.
 0059 Preferably the stabilising additive does not                 0068. One useful combination is EMITSFI/benzonitrile,
adversely affect other performance characteristics of the ionic   for example, 5% benzonitrile in EMITFSI: 1% benzonitrile in
liquid electrolyte, for instance, the stabilising additive does   EMITFSI or 0.25% benzonitrile in EMITFSI.
not adversely affect device ESR, capacitance, self discharge       0069. In a second aspect, the invention provides an energy
or operating temperatures and Voltage windows. More pref          storage device comprising an electrolyte system comprising
erably the additive may also improve other performance char       an ionic liquid and a stabilising amount of a stabilising addi
acteristics.                                                      tive.
 0060. The ionic liquid may be for example MeMeImN                 0070 The electrolyte system is preferably as described
(CFSO); EtMeImBFI: EtMeImC(CFSO); Et                              above in relation to the first aspect.
MeImN(CFSO); EtMeImCFCO: EtMelm                                    0071 Preferably the energy storage device is in the form
CFSOs); EtMeImCFCO: EtMeIm)N(CFSO);                               of a Supercapacitor.
EtMeIm)N(CFSO): EtMeImN(CN): EtBtIm                                0072 The stabilising additive is provided to stabilise
CFSO: EtBtIm)N(CFSO); 1.2-Me-3-EtImN                              either or both of the ESR or capacitance of the energy storage
(CFSO): 1-Et-2,3-Me Im)N(CFSO): 1-Et-3,5-                         device at predetermined Voltage, typically the operating Volt
MeIm)N(CFSO): 1-Et-3,5-MeImCFSOs): 1-Et                           age.
3.5-MeIm)N(CFSO); 1.2-Et-3-MeIm)N(CFSO);
 1.3-Et-4-MeIm N(CFSO);               1,3-Et-5-MeImN              (0073 Preferably the stabilising additive does not
(CFSO); BuMelm IBF.; BuMelmPF: BuMelm                             adversely affect other performance characteristics of the
N(CFSO); BuMelmCFSOI: BuMeImCFSOs):                               device. Such as, for example, ESR, capacitance, capacitance
 BuMeIm)N(CFSO):                iBuMelm)N(CFSO):                  decay rate, self discharge or operating temperatures and Volt
 BuEtIm)N(CFSO); BuEtImCFCO: BuMelm                               age windows.
CFSO); BuMelm ICF CO: BuMeMeImBF:                                  0074 Preferably the energy storage device of the present
 BuMeMeImPF); PrMeImBFI; PrMeMeImN                                invention has an ESR rise rate that is less than the ESR rise
(CFSO); iPrMeIm)N(CFSO); 1.2-Me-3-PrImN                           rate of an equivalent device without the stabilising additive
(CFSO); MeMePyCFSONCOCFI: EtMePyN                                 and/or a capacitance loss rate that is less than the capacitance
(CN); PrMePyN(CFSO); PrMePyN(CN):                                 loss rise of a device without the stabilising additive at a
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working Voltage and temperature where the equivalent device                                             Example 1
without the stabilising additive shows significant ESR rise                                    Benzonitrile Additive
rate and or C loss rate.
                                                                      I0082. The supercapacitors were prepared in accordance
 0075 Preferably the electrolyte of the present invention             with methods disclosed in the Applicant’s previous published
has a conductivity of no less than +/-5% of the conductivity          patent specifications (see, for example, PCT/AU98/00406
of an electrolyte without the stabilising additive at a prede         (WO 98/054739), PCT/AU99/00278 (WO99/053510), PCT/
termined temperature range. Although instances where con              AU99/00780 (WO 00/016352), PCT/AU99/01081 (WO
ductivity is sacrificed for other benefits can be envisaged.          00/034964), PCT/AU00/00836 (WO 01/004920), PCT/
 0076 Preferably the energy storage device of the present             AU01/00553 (WO 01/089058)).
invention has a capacitance of no less than +/-5% of an               I0083 Electrode sheets were formed from carbon coatings
equivalent device without the stabilising additive at a prede         on 22 um thick aluminium foil, where the carbon coating
termined Voltage and temperature. Although instances where            included an activated carbon, a binder and a conductive car
capacitance is sacrificed for other benefits can be envisaged.        bon. Cells were made by separating two 29 cm of approxi
 0077 Preferably the energy storage device of the present             mately 6 um thick carbon coated electrode with a porous
                                                                      separator of 13 um thick polytetrafluoroethylene. The whole
invention has an increased operating Voltage window relative          was then folded in half to form a flat electrode stack with bare
to that of an equivalent device without the stabilising additive      aluminium tabs extending from each electrode. The stack was
at a predetermined Voltage and temperature.                           then partly enclosed in a laminate package with an EAA heat
                                                                      seal layer to make a Supercapacitor cell. This packaged dry
                       DESCRIPTION                                    cell was then dried in an inert atmosphere. While still in an
 0078. The present Applicant has surprisingly found that              inert atmosphere, each stack was saturated with EMITFSI or
the responsiveness and long term performance of ionic liquid          a mix of EMITFSI with benzonitrile and the package vacuum
                                                                      sealed. The cell was then put on life test with the following
Supercapacitors can be increased by the addition of certain           conditions: charged to 2.3 V and heated to 70° C. for 1000h
organic additives.                                                    and the ESR was measured every hour by voltage drop and the
 0079 Surprisingly, it has been found that using an ionic             Capacitance was recorded every 6 hours from constant cur
liquid such as EMITFSI (1-ethyl-3-methylimidazoliumbis                rent discharge of 100 mA between 1.5V and 0.5 V. ESR rise
(trifluoromethane-sulfonyl)imide) in combination with a sta           rates and Capacitance loss were determined from the life data
bilising agent Such as benzonitrile, in a Supercapacitor pro          between 900 and 1000h. The results are summarised in Table
vides a significant benefit in terms of reduced ESR rise and          1. Examples 1.1 to 1.3 use the same batch of electrode coat
retained capacitance over long periods of time, when subject          ings which give slightly lower initial capacitance to the elec
to life testing at elevated temperature and Voltage compared to       trode used in examples 1.4 to 1.8.
Supercapacitor that uses ionic liquid electrolyte without the         I0084 All cells were cycled between 0.5 and 2.3 V 100
stabilising additive.                                                 times before measuring electrical properties.
                                                                                               TABLE 1.
                                                               Average ESR and capacitance at different points during life testing at 70° C.
                                                                and 2.3 V, with associated change rates (values in parenthesis are standard
                                                                       deviation), illustrating the benefits of benzonitrile addition.
                                                                       % Benzonitrile       Average                         ESR rise    C loss rate
                                                           Example     in EMITFSI by Initial ESR            Initial C (F)   rate (m2/      (mF/
                                                             No.           weight    (mS2) at 23° C.          at 23° C.      1000 h)      1000 h)
                                                             1.1             O               60 (2)        0.570 (0.009)     33 (17)     213 (34)
                                                             1.2             O.25            58 (2)        0.573 (0.004)    4.3 (0.9)     33 (18)
                                                             1.3             1             56.0 (0.7)       0.58 (0.01)     4.6 (0.6)     28 (5)
                                                             1.4             O             60.5 (0.8)       0.67 (0.01)      25 (9)      248 (21)
                                                             1.5             5               56 (1)         0.71 (0.01)       6 (2)       23 (7)
                                                             1.6            10               53 (1)         0.71 (0.01)       4 (1)       26 (8)
                                                             1.7            25             46.4 (0.8)       0.70 (0.01)       3 (1)       25 (10)
                                                             1.8            50             44.7 (0.6)       0.71 (0.01)       6 (2)       41 (9)


                           EXAMPLES                                   I0085. From these examples in Table 1 it is clear that addi
                                                                      tion of benzonitrile to the EMITFSI electrolyte significantly
 0080 The present invention is represented by the follow              reduces both the initial ESR and the change in ESR during the
ing non-limiting Examples.                                            life test at 70° C. and 2.3 V. A similar benefit is seen in
                                                                      capacitance, where initial capacitance is higher and capaci
 0081 Prior to considering the data presented in these                tance loss is lower. Example 1.2 shows that even 0.25%
Examples, the Applicant wishes to clarify that the difference         benzonitrile in EMITFSI has a very positive effect on cell
in the ESR data for the two EMITFSI controls (see, Examples           performance.
1.1 and 2.1), is due to the Inventors having used a different,        I0086. The additive also significantly reduces initial ESR,
active high Surface area carbon in Example 2. Moreover, in            which is beneficial for device function.
Example 2, the separator thickness was different: a 25 um,            I0087. In terms of electrolyte performance, benzonitrile
high porosity PTFE separator was used.                                mixes well with ionic liquids such as EMITFSI at a range of
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concentrations at ambient temperatures to provide a homo                                                 Example 2
geneous solution. Peak conductivities were obtained at                                          Cinnamonitrile Additive
around 25% wit/wt benzonitrile in ionic liquid. The peak                  0094 Supercapacitor cells were prepared in a similar way
conductivity was about 11.5 mS/cm for EMITFSI (cf. about                 to those described above, with the main differences being that
7.8 mS/cm neat EMITFSI) and 14.5 mS/cm for EMITFB (cf.                   cinnamonitrile (3-phenylacrylonitrile) was substituted for
about 12.5 mS/cm neat EMITFB).                                           benzonitrile and a 25um, high porosity PTFE separator was
                                                                         used. The results for ESR rise rate and capacitance loss rate
 0088. The long term viability of a supercapacitor can be                calculated from the life databetween 400 and 600h are shown
measured by determining its ESR rise over time. ESR tends to             in Table 2, below:
                                                                                                  TABLE 2
                                                                  Average ESR and capacitance at different points during life testing at 70° C.
                                                                   and 2.3 V, with associated change rates (values in parenthesis are standard
                                                                         deviation), illustrating the benefits of cinnamonitrile addition.

                                                                       Cinnamonitrile       Average                         ESR rise
                                                         Example in EMITFSI by Initial ESR Initial C (F)                   rate (m2/      Closs rate
                                                           No.       weight    (mS2) at 23° C. at 23° C.                    1000 h)      (mF/1000 h)
                                                            2.1                O             46 (3)        1.01 (0.02)        14 (2)       175 (32)
                                                            2.3                1             47 (3)        0.98 (0.01)       3.9 (0.7)      73 (18)
                                                            2.5                5             46 (1)        0.94 (0.01)        14 (3)        29 (9)
                                                            2.7               25             57(2)         0.86 (0.02)      209 (16)        26 (4)
                                                            2.8               50             68 (3)        0.86 (0.02)      576 (109)       23 (36)


drift upwards as the capacitor ages through use or storage.               0.095. It can be seen from the above results that the use of
The lower the rate rise, the longer the Supercapacitor can               cinnamonitrile as a stabilising additive provides a better result
maintain an acceptably low ESR figure.                                   in terms of capacitance loss over the life of the Supercapacitor
                                                                         than when it is absent. Whilst the ESR rise rate observed is not
 0089. It can be seen that at the start of the device life, the          suppressed by high concentrations of cinnamonitrile, the
ESR of the device tested was lower when benzonitrile was                 result is nevertheless significant and would clearly translate
present and after several hundred hours, there is a clear                into an extended lifetime for the supercapacitor with a high
improvement in terms of the ESR rise rate and capacitance                retained capacitance.
loss Suppression exhibited by the devices containing benzoni              0096. Similarly, the use of succinonitrile as a stabilising
trile.                                                                   additive was demonstrated under similar conditions to Sup
 0090 Thus, the addition of 1% benzonitrile reduced the                  press the ESR rise rate over time and also to minimise capaci
                                                                         tance loss.
ESR rise rate from about 0.033 mS2/h down to around 0.003
0.006 m2/h. This represents a reduction to around 25% of the              0097. Combinations of stabilising additives may be used
                                                                         to achieve a desired balance of low ESR rate raise and
ESR rise rate, which potentially corresponds to an approxi               retained capacitance.
mate four-fold extension of device life.
                                                                          0098. The addition of the stabilising additive, such as ben
 0091. In addition to reducing ESR rise rate, the addition of            Zonitrile, may also improve other properties of the device
benzonitrile to ionic liquid electrolytes was seen to minimise           apart from life performance. Such as, reducing the initial
capacitance decay rate. In the EMTISFI system, capacitance               device ESR at about room temperature or improving device
decay was around 2x10" F/h, whereas in the EMISTFI/                      ESR at low temperatures.
benzonitrile systems, it was around 3x10 F/h, a reduction                 0099. Although the invention has been described with ref
by nearly an order of magnitude.                                         erence to specific examples it will be appreciated by those
                                                                         skilled in the art that the invention may be embodied in many
 0092. There was no significant difference between 0.25, to              other forms.
50% benzonitrile blends with EMITFSI in terms of the ESR                    1-62. (canceled)
rise rate and Capacitance loss rate. This clearly indicates that            63. An electrolyte system suitable for use in an energy
the present invention encompasses a wide range of concen                 storage device, the electrolyte system comprising an ionic
trations of stabilising additive.                                        liquid and a stabilizing amount of a stabilizing additive.
                                                                            64. An electrolyte system according to claim 63 wherein
 0093. The operation of the device in this invention is not              the energy storage device is a Supercapacitor.
limited to the temperatures and Voltages used in the above                  65. An electrolyte system according to claim 63 wherein
examples. It is often convenient to use higher temperatures              the stabilizing additive is provided to stabilize EAR of the
during device testing as an accelerated test to predict life             energy storage device and/or to stabilize capacitance loss of
performance at lower temperatures because testing at lower               the energy storage device.
temperatures would take a prohibitively long time to conduct                66. An electrolyte system according to claim 63 wherein
in the laboratory. Therefore it should be obvious that                   the stabilizing additive either improves or does not adversely
improved life performance at 70° C. and 2.3 V achieved by                affect other performance characteristics of the ionic liquid.
using the electrolyte additive will also give improved life                 67. An electrolyte system according to claim 63 wherein
performance for devices operating at lower temperatures and/             the ionic liquid is a TFSI salt, optionally, a Li or EMI TFSI
or lower Voltage windows.                                                salt.
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   68. An electrolyte system according to claim 63 wherein          78. An energy storage device according to claim 76
the ionic liquid is EMITFSI.                                     wherein the stabilizing additive is provided to reduce EAR
   69. An electrolyte system according to claim 63 wherein       rise rate of the energy storage device and/or to reduce capaci
the stabilizing additive is a water scavenger.                   tance loss of the energy storage device.
  70. An electrolyte system according to claim 63 wherein           79. An energy storage device according to claim 76
the stabilizing additive contains a nitrile group and/or an      wherein the ionic liquid comprises EMITFSI.
aromatic ring.                                                      80. An energy storage device according to claim 76
  71. An electrolyte system according to claim 63 wherein
the stabilizing additive is an aromatic nitrile.                 wherein the stabilizing additive results in an initial EAR less
  72. An electrolyte system according to claim 63 wherein        than the EAR of an equivalent device without the stabilizing
the stabilizing additive is contains a benzene ring and one or   additive and/oran EAR rise rate less than an equivalent device
more nitrile groups.                                             without the stabilizing additive.
  73. An electrolyte system according to claim 63 wherein           81. An energy storage device according to claim 76 having
the stabilizing additive is selected from the group consisting   a capacitance at least equivalent to the capacitance of an
of benzonitrile, cinnamonitrile and Succinonitrile.              equivalent device without the stabilizing additive and/or a
  74. An electrolyte system according to claim 63 wherein        capacitance decay rate less than that of an equivalent device
the stabilizing additive is present in an amount of up to 50%    without the stabilizing additive.
wit/wt.                                                             82. An energy storage device according to claim 76 having
  75. An electrolyte system according to claim 63 wherein        an EAR rise rate of less than 0.01%/h at 2.3 V and 70° C.
the stabilizing additive is present in an amount of more than    and/or a capacitance loss rate of less than 0.006%/h at 2.3 V
50% Wt/wt.                                                       and 70° C.
   76. An energy storage device comprising an electrolyte
system comprising an ionic liquid and a stabilizing amount of      83. An electrolyte having a conductivity of more than the
a stabilizing additive.                                          conductivity of an equivalent electrolyte without the stabiliz
   77. An energy storage device according to claim 76 in the     ing additive.
form of a Supercapacitor.
